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                                                                                           FILED
                                                                                       U.S. DISTRICT COURT
                                                                                   EASTERN DISTRICT ARKANSAS
                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS                                  JUL. 0 6 2023
                                  CENTRAL DIVISION

                                                                                                          DEPCLERK
BROADCAST MUSIC, INC.;
BOCEPHUS MUSIC, INC.;
HOWE SOUND MUSIC PUBLISHING            This case assigned to D i s ~ 1~~\k It
d/b/a CYPRESS PARK MUSIC;              and to Magistrate Judge_.ti.ill.Q--.-......_~-----------
SCREEN GEMS-EMI MUSIC, INC.;
DALE MORRIS MUSIC; SONY/ATV SONGS, LLC
d/b/a SONY/ATV TREE PUBLISHING;
FOURTEENTH HOUR MUSIC, INC.;
SPRINGTIME MUSIC, INC.;
EMBASSY MUSIC CORPORATION;
BENEFIT MUSIC; EMI LONGITUDE MUSIC CO.                         PLAINTIFFS

V.                                Case No.     L\:[13-Ql.):{;33- LPR
LAKEWOOD VILLAGE DINING ASSOCIATION
d/b/a ROUND ONE SPORTS BAR AND GRILL;
LEE TOWNSEND; KA THERINE TOWNSEND
AND SHAMEKA NEAL, INDIVIDUALLY                                                       DEFENDANTS


                                           COMPLAINT


               Plaintiffs, by their attorneys, for their Complaint against Defendants, state:

                                   JURISDICTION AND VENUE

       1.       This is a suit for copyright infringement under the United States Copyright Act of

1976, as amended, 17 U.S.C. Sections 101 et seq. (the "Copyright Act"). This Court has jurisdiction

pursuant to 28 U.S.C. Section 1338(a).

       2.       Venue is proper in this judicial district pursuant to 28 U.S.C. Section 1400(a).

                                            THE PARTIES

       3.       Plaintiff Broadcast Music, Inc. ("BMI"), is a corporation organized and existing under

the laws of the State of Delaware. BMI's principal place of business is 7 World Trade Center, 250


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Greenwich Street, New York, New York 10007. BMI has been granted the right to license the public

performance rights in 20.6 million copyrighted musical compositions (the "BMI Repertoire"),

including those which are alleged herein to have been infringed.

        4.        The Plaintiffs other than BMI are the owners of the copyrights in the musical

compositions, which are the subject of this lawsuit. All Plaintiffs are joined pursuant to Fed. R. Civ.

P. l 7(a) and l 9(a).

        5.        PlaintiffBocephus Music, Inc. is a corporation. This Plaintiff is a copyright owner of

at least one of the songs in this matter.

        6.        Plaintiff Howe Sound Music Publishing LLC is a corporation d/b/a Cypress Park

Music. This Plaintiff is a copyright owner of at least one of the songs in this matter.

        7.        Plaintiff Screen Gems-EMI Music, Inc. is a corporation. This Plaintiff is a copyright

owner of at least one of the songs in this matter.

         8.       Plaintiff Dale Morris Music is a sole proprietorship owned by Dale Cecil Morris. This

Plaintiff is a copyright owner of at least one of the songs in this matter.

         9.       Plaintiff Sony/ATV Songs, LLC is a corporation d/b/a Sony/ATV Tree Publishing.

This Plaintiff is a copyright owner of at least one of the songs in this matter.

         10.      Plaintiff Fourteenth Hour Music, Inc. is a corporation owned by Theodore Richard

White. This Plaintiff is a copyright owner of at least one of the songs in this matter.

         11.      Plaintiff Springtime Music, Inc. is a corporation. This Plaintiff is a copyright owner

of at least one of the songs in this matter.

         12.      Plaintiff Embassy Music Corporation, Inc. is a corporation.       This Plaintiff is a

copyright owner of at least one of the songs in this matter.




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        13.      Plaintiff Benefit Music is a corporation. This Plaintiff is a copyright owner of at least

one of the songs in this matter.

        14.      Plaintiff EMI Consortium Songs, Inc. d/b/a EMI Longitude Music is a corporation.

 This Plaintiff is a copyright owner of at least one of the songs in this matter.

        15.      Defendant Lakewood Village Dining Association is a corporation organized and

existing under the laws of the state of Arkansas, which operates, maintains and controls an

establishment known as Round One Sports Bar and Grill, located at 406 Sidelines Road, Trumann,

Arkansas, 72472, in this district (the "Establishment").

        16.      In connection with the operation of the Establishment, Defendant Lakewood Village

Dining Association publicly performs musical compositions and/or causes musical compositions to

be publicly performed.

        17.      Defendant Lakewood Village Dining Association has a direct financial interest in the

Establishment.

        18.      Defendants Lee Townsend, Katherine Townsend, and Shameka Neal are officers of

Defendant Lakewood Village Dining Association with responsibility for the operation and

management of that corporation and the Establishment.

        19.      Defendants Lee Townsend, Katherine Townsend, and Shameka Neal have the right

and ability to supervise the activities of Defendant Lakewood Village Dining Association and a direct

financial interest in that corporation and the Establishment.

                            CLAIMS OF COPYRIGHT INFRINGEMENT

        20.      Plaintiffs repeat and reallege each of the allegations contained in paragraphs 1 through

        21.      Since October of 2022, BMI has reached out to Defendants over 30 times, by phone,

and mail, in an effort to educate Defendants as to their obligations under the Copyright Act with



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respect to the necessity of purchasing a license for the public performance of musical compositions

in the BMI Repertoire. Included in the letters were Cease and Desist Notices, providing Defendants

with formal notice that they must immediately cease all use of BMI-licensed music in the

Establishment.

        22.      Plaintiffs allege six (6) claims of willful copyright infringement, based upon

Defendants' unauthorized public performance of musical compositions from the BMI Repertoire. All

of the claims for copyright infringement joined in this Complaint are governed by the same legal rules

and involve similar facts. Joinder of these claims will promote the convenient administration of

justice and will avoid a multiplicity of separate, similar actions against Defendants.

        23.      Annexed to this Complaint as Exhibit No. 1 is a schedule (the "Schedule") and

incorporated herein is a list identifying some of the many musical compositions whose copyrights

were infringed by Defendants. The Schedule contains information on the six (6) claims of copyright

infringement at issue in this action. Each numbered claim has the following eight lines ofinformation

(all references to "Lines" are lines on the Schedule): Line 1 providing the claim number; Line 2 listing

the title of the musical composition related to that claim; Line 3 identifying the writer(s) of the musical

composition; Line 4 identifying the publisher(s) of the musical composition and the plaintiff(s) in this

action pursuing the claim at issue; Line 5 providing the date on which the copyright registration was

issued for the musical composition; Line 6 indicating the copyright registration number(s) for the

musical composition; Line 7 showing the date(s) of infringement; and Line 8 identifying the

Establishment where the infringement occurred.

        24.      For each work identified on the Schedule, the person(s) named on Line 3 was the

creator of that musical composition.




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       25.     For each work identified on the Schedule, on or about the date(s) indicated on Line 5,

the publisher(s) named on Line 4 (including any predecessors in interest), complied in all respects

with the requirements of the Copyright Act and received from the Register of Copyrights Certificates

of Registration bearing the number(s) listed on Line 6.

       26.     For each work identified on the Schedule, on the date(s) listed on Line 7, Plaintiff

BMI was (and still is) the licensor of the public performance rights in the musical composition

identified on Line 2. For each work identified on the Schedule, on the date(s) listed on Line 7, the

Plaintiff(s) listed on Line 4 was (and still is) the owner of the copyright in the respective musical

composition listed on Line 2.

        27.     For each work identified on the Schedule, on the date(s) listed on Line 7, Defendants

publicly performed and/or caused to be publicly performed at the Establishment the musical

composition identified on Line 2 without a license or permission to do so. Thus, Defendants have

committed copyright infringement.

        28.     The specific acts of copyright infringement alleged in the Complaint, as well as

Defendants' entire course of conduct, have caused and are causing Plaintiffs great and incalculable

damage. By continuing to provide unauthorized public performances of works in the BMI Repertoire

at the Establishment, Defendants threaten to continue committing copyright infringement. Unless

this Court restrains Defendants from committing further acts of copyright infringement, Plaintiffs will

suffer irreparable injury for which they have no adequate remedy at law.

         WHEREFORE, Plaintiffs pray that:

         I.     Defendants, their agents, servants, employees, and all persons acting under their

permission and authority, be enjoined and restrained from infringing, in any manner, the copyrighted

musical compositions licensed by BMI, pursuant to 17 U.S.C. Section 502;



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          2.   Defendants be ordered to pay statutory damages, pursuant to 17 U.S.C. Section

504(c);

          3.   Defendants be ordered to pay costs, including a reasonable attorney's fee, pursuant to

17 U.S.C. Section 505; and

          4.   Plaintiffs have such other and further relief as is just and equitable.


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                                                    Attorneys for Plaintiffs




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                                              Schedule

Line 1   Claim No.                                      1

Line2    Musical Composition       Bom To Boogie

Line 3   Writer(s)                 Randall Hank Williams Jr. a/kJa Hank Williams Jr.

Line4    Publisher Plaintiff(s)    Bocephus Music, Inc.

Line 5   Date(s) of Registration   419187

Lines    Registration No(s).       PA323-651

Line 7   Date(s) of Infringement   4/8/2023

Line 8   Place of Infringement     Round One Sports Bar & Grill




Line 1   Claim No.                                      2

Line2    Musical Composition       Family Tradition

Line 3   Writer(s)                 Hank Williams, Jr.

Line4    Publisher Plaintiff(s)    Howe Sound Music Publishing LLC d/b/a Cypress Park Music

Lines    Date(s) of Registration   2/8/79

Lines    Registration No(s).       PA 32-171

Line 7   Date(s) of Infringement   4/812023

Linea    Place of Infringement     Round One Sports Bar & Grill




                                                                                              EXHIBIT

                                                                                          I k
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Line 1   Claim No.                                   3

Line2    Musical Composition       If You're Gonna Play In Texas a/k/a You Gotta Have A Fiddle In The Band

Line3    Wrtter(s)                 Murry Kellum; Dan Mitchell

Line4    Publisher Plaintiff(s)    Screen Gems-EMI Music, Inc.; Dale Cecil Morris d/bfa Dale Morris Music; Sony/ATV
                                   Songs LLC d/b/a Sony/ATV Tree Publishing

Lines    Date(s) of Registration   1/16/84

Line6    Registration No(s).       PA 196-988

Line7    Date(s) of Infringement   4/8/2023

Line8    Place of Infringement     Round One Sports Bar & Grill




Line 1   Claim No.                                   4

Line2    Musical Composition       Mustang Sally

Line3    Wrtter(s)                 Bonny Rice

Line4    Publisher Plaintiff(s)    Fourteenth Hour Music Inc.; Springtime Music, Inc.

Line 5   Date(s) of Registration   4/27/93         3122165

Line6    Registration No(s).       RE 627-422      Eu873659

Line7    Date(s) of Infringement   4/8/2023

Line8    Place of Infringement     Round One Sports Bar & Grill




Line 1   Claim No.                                   5

Line2    Musical Composition       Metal Health a/k/a Metal Health (Bang Your Head)

Line3    Writer(s)                 Kevin DuBrow; Csrlos cavazo; Frankie Banali; Tony cavazo

Line4    Publisher Plaintiff(s)    Embassy Music Corporation

Line 5   Date(s) of Registration   10/1/84

Line6    Registration No(s).       PA226-937

Line7    Date(s) of Infringement   4/8/2023

Line8    Place of Infringement     Round One Sports Bar & Grill
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    Line 1   Claim No.                                   6

    Line2    Musical Composition       Liza Jane

    Line3    Writer(s)                 Vince Gill; Reed Nielson

    Line4    Publisher Plaintiff(s)    Vince Grant Gill, an individual d/b/a Benefit Music: EMI Consortium Songs, Inc. d/b/a EMI
                                       Longitude Music

    Lines    Date(s) of Registration   6/18/91

    Lines    Registration No(s).       PA528-079

    Line7    Date(s) of Infringement   4/8/2023

    Lines    Place of Infringement     Round One Sports Bar & Grill
